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                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                Case No. 1:07-cr-00177
                                    )
v.                                  )                Honorable Richard Alan Enslen
                                    )
HECTOR GOMEZ,                       )
                                    )
            Defendant.              )
____________________________________)


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on April 14, 2008, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Hector Gomez entered a plea of guilty to the Indictment in exchange for the

undertakings made by the government in the written plea agreement. In the Indictment, defendant

is charged with conspiracy to distribute methamphetamine in violation of 21 U.S.C. §§ 846,

841(a)(1) and (b)(1)(B)(viii). On the basis of the record made at the hearing, I find that defendant

is fully capable and competent to enter an informed plea; that the plea is made knowingly and with

full understanding of each of the rights waived by defendant; that it is made voluntarily and free

from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to the Indictment be accepted,

that the court adjudicate defendant guilty, and that the written plea agreement be considered for

acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt, acceptance of

the plea agreement, and imposition of sentence are specifically reserved for the district judge. The

clerk is directed to procure a transcript of the plea hearing for review by the District Judge.



Date: April 15, 2008                                   /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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